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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


IN RE: CAPACITORS ANTITRUST                                Civil Action No: 3:16-MC-0001-B
LITIGATION
                                                           Action Pending in:
                                                           Northern District of California
INDIRECT PURCHASER PLAINTIFFS                              3:14-cv-03264-JD

                Movant,
v.

ALLIED ELECTRONICS, INC.

                 Respondent.



                                             AGREED ORDER

         Before the Court is Movant Indirect Purchaser Plaintiffs’ (“IPPs”) motion to compel

 Respondent Allied Electronics, Inc.’s (“Allied”) compliance with a third-party subpoena.                    The

 parties agree as follows:

         1.       Allied will provide the IPPs, via password-protected encrypted flash drive (or similar

 method), with electronic transactional data for the sale of capacitors.1 The transactional data will

 include the following information:

              a. Date of sale;

              b. Sales order number (billed/invoice);

              c. Customer identification number;

              d. Quantity sold;

              e. Cost;
                                                             
 1 “Capacitors” is defined to include the following dielectric capacitor subcategories: tantalum electrolytic

 capacitors; aluminum electrolytic capacitors (Tantalum electrolytic and aluminum electrolytic capacitors are
 also referred to as "Electrolytic Capacitors"); ceramic capacitors (capacitors which use a ceramic material as
 the dielectric including, but not limited to, multi-layer ceramic capacitors (“MLCCs")); and film capacitors.



  
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             f. Whether the transaction was a resale:

             g. Manufacturer part number; and

             h. Manufacturer or vendor name.

        2.      Allied will provide the IPPs with such information in electronic format no later than

March 1, 2016. Allied will inform the IPPs on or before Friday, January 29, 2016 whether it will

meet the March 1, 2016 deadline. If Allied does not represent by January 29, 2016 that it will meet

the March 1, 2016 deadline, this Order will dissolve and the IPPs will be free to re-urge or refile

their motion to compel.

        3.      Should Allied ever represent after January 29, 2016 that it cannot or may not be able

to provide the information by March 1, 2016, this Order will dissolve and the IPPs will be free to re-

urge or refile their motion to compel.

        4.      The data that Allied provides will be designated “CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” and is entitled to all protections that the Protective Order, (attached

as Exhibit 1), provides to material designated as “CONFIDENTIAL – ATTORNEYS’ EYES

ONLY.”

        5.      Allied’s compliance with this Order constitutes compliance with the third-party

subpoena that the IPPs served on Allied on July 16, 2015 in the underlying litigation.

        SO ORDRERED on this 25th day of January, 2016.




 
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AGREED:


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